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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


JOSHUA WILSON                                         *               CIVIL ACTION
                                                      *
VERSUS                                                *               NO: 21-00992
                                                      *
JOSEPH P. LOPINTO, III, INDIVIDUALLY                  *
AND IN HIS OFFICIAL CAPACITY AS                       *
 SHERIFF OF JEFFERSON PARISH                          *
SHERIFF’S OFFICE and DEPUTY SEAN                      *
 HAYES                                                *               SEC.       MAG.
                                                      *
                                                      *
                                                      *
* * * * * * * * * * *               * *    * * *      *

                        DEFENDANT’S ANSWER TO COMPLAINT


       Defendant Sean Hayes (hereinafter “Mr. Hayes”), through undersigned counsel, hereby

answers Plaintiff’s Complaint for sexual assault and civil rights violations (hereinafter

“Complaint”):

                                           DEFENSE 1

       Plaintiff has failed to state a claim upon which relief can be granted.

                                           DEFENSE 2

       Mr. Hayes responds to each numbered paragraph of Plaintiff’s Complaint as follows:

   1. The allegations in Paragraph 1 consist of Plaintiff’s characterization of this complaint and

       supplemental jurisdiction, to which no response is required.

   2. The allegations in Paragraph 2 consist of Plaintiff’s legal conclusions regarding venue, to

       which no response is required.

   3. The allegations in Paragraph 3 consist of Plaintiff’s legal conclusions regarding

       jurisdiction, to which no response is required.
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4. Mr. Hayes denies the allegations regarding sexual assault in Paragraph 4. The remaining

   allegations in Paragraph 4 consist of Plaintiffs legal conclusion regarding personal

   jurisdiction, to which no response is required.

5. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of

   allegations in Paragraph 5.

6. As to Paragraph 6, Mr. Hayes admits as to having previously worked at the Jefferson

   Parish Correctional Center at some point in the past. Mr. Hayes admits to being of the age

   of majority as well as a citizen of the State of Louisiana. As to remaining allegations, Mr.

   Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 6.

7. Mr. Hayes denies the allegations in Paragraph 7.

8. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 8.

9. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 9.

10. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 10.

11. Mr. Hayes admits to being previously employed by the Jefferson Parish Correctional

   Center. As to remaining allegations, Mr. Hayes lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations in Paragraph 11.

12. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 12.




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13. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 13.

14. Mr. Hayes denies the allegations in Paragraph 14.

15. Mr. Hayes denies the allegations in Paragraph 15.

16. Mr. Hayes denies the allegations in Paragraph 16.

17. Mr. Hayes denies the allegations in Paragraph 17.

18. Mr. Hayes denies the allegations in Paragraph 18.

19. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 19.

20. Mr. Hayes denies the allegations in Paragraph 20.

21. Mr. Hayes admits to being falsely arrested. Mr. Hayes admits a criminal case is currently

   pending with him as Defendant. As to remaining allegations, Mr. Hayes lacks knowledge

   or information sufficient to form a belief as to the truth of the allegations in Paragraph 21.

22. The allegations in Paragraph 22 consist of Plaintiff’s legal conclusions regarding sexual

   malfeasance, to which no response is required.

23. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 23.

24. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 24.

25. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 25.

26. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 26.




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27. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 27.

28. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 28.

29. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 29.

30. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 30.

31. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 31.

32. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 32.

33. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 33.

34. Mr. Hayes admits to being previously employed by Jefferson Parish Correctional Center

   at some point in the past. Mr. Hayes lacks knowledge or information sufficient to form a

   belief as to the truth of the remaining allegations in Paragraph 34.

35. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 35.

36. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 36.

37. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 37.




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38. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 38.

39. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 39.

40. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 40.

41. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 41.

42. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 42.

43. Mr. Hayes admits to being an employee at the Jefferson Parish Correctional Center at

   some time in the past.

44. Mr. Hayes denies the allegations in paragraph 44.

45. Mr. Hayes denies the allegations in paragraph 45 in reference to sexual assaults and

   further lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 45.

46. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 46.

47. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 47.

48. As to Paragraph 48, Mr. Hayes repeats and responds to each, and every allegation

   previously answered. To the extent a response is deemed necessary, Mr. Hayes denies the

   allegations in Paragraph 48.




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49. The allegations in Paragraph 49 consist of Plaintiff’s legal conclusions regarding

   constitutional rights, to which no response is required.

50. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 50.

51. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 51.

52. Mr. Hayes denies the allegations in Paragraph 52.

53. Mr. Hayes denies the allegations in Paragraph 53.

54. Mr. Hayes denies the allegations in Paragraph 54.

55. Mr. Hayes denies “As a result of the sexual assault described in this Count” and further

   lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations in Paragraph 55.

56. Mr. Hayes denies the allegations in Paragraph 56.

57. As to Paragraph 57, Mr. Hayes repeats and responds to each, and every allegation

   previously answered. To the extent a response is deemed necessary, Mr. Hayes denies the

   allegations in Paragraph

58. The allegations in Paragraph 58 consist of Plaintiff’s legal conclusions, to which no

   response is required.

59. The allegations in Paragraph 59 consist of Plaintiff’s legal conclusions, to which no

   response is required.

60. Mr. Hayes denies the allegations in Paragraph 60.

61. Mr. Hayes denies the allegations in Paragraph 61.




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62. As to Paragraph 62, Mr. Hayes repeats and responds to each, and every allegation

   previously answered. To the extent a response is deemed necessary, Mr. Hayes denies the

   allegations in Paragraph 62.

63. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 63.

64. Mr. Hayes denies the allegations in reference to himself in Paragraph 64 and further

   lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations in Paragraph 64.

65. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of

   the allegations in Paragraph 65.

66. Mr. Hayes denies the existence of “sexual assault by Defendant HAYES” and further

   lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations in Paragraph 66.

67. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 67.

68. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 68

69. Mr. Hayes denies the allegations in paragraph 69 in relation to sexual assault and further

   lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations in Paragraph 69.

70. As to Paragraph 70, Mr. Hayes repeats and responds to each, and every allegation

   previously answered. To the extent a response is deemed necessary, Mr. Hayes denies the

   allegations in Paragraph 70.




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71. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 71.

72. Mr. Hayes denies the allegations in Paragraph 72 in relation to “contact and subsequent

   harm”, and further lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 72.

73. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 73.

74. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 74.

75. Mr. Hayes denies the allegations in Paragraph 75 in relation to Mr. Hayes being the cause

   of injury to Plaintiff. Mr. Hayes further lacks knowledge or information sufficient to form

   a belief as to the truth of the remaining allegations in Paragraph 75.

76. As to Paragraph 76, Mr. Hayes repeats and responds to each, and every allegation

   previously answered. To the extent a response is deemed necessary, Mr. Hayes denies the

   allegations in Paragraph 76.

77. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 77.

78. Mr. Hayes denies the allegations in Paragraph 78 relation to “within the zone of

   foreseeable risk created by the employment of Defendant HAYES” and further lacks

   knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations in Paragraph 78.

79. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 79.




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80. Mr. Hayes denies the existence of “Defendant HAYES was unsuitable to have contact

   with inmates” and further lacks knowledge or information sufficient to form a belief as to

   the truth of remaining allegations in Paragraph 80.

81. Mr. Hayes denies the allegations in Paragraph 81.

82. Mr. Hayes denies the allegations in Paragraph 82.

83. As to Paragraph 83, Mr. Hayes repeats and responds to each, and every allegation

   previously answered. To the extent a response is deemed necessary, Mr. Hayes denies the

   allegations in Paragraph 83.

84. Mr. Hayes denies the allegations in Paragraph 84.

85. Mr. Hayes denies the allegations in Paragraph 85.

86. Mr. Hayes denies the allegations in Paragraph 86.

87. Mr. Hayes denies the allegations in Paragraph 87.

88. As to Paragraph 88, Mr. Hayes repeats and responds to each, and every allegation

   previously answered. To the extent a response is deemed necessary, Mr. Hayes denies the

   allegations in Paragraph 88.

89. Mr. Hayes denies the allegations in Paragraph 89.

90. Mr. Hayes lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations in Paragraph 90.

91. The remainder of the Complaint sets forth Plaintiff’s requested relief, to which no

   response is required. To the extent a response is deemed necessary, Mr. Hayes denies the

   allegations contained in the remaining paragraphs of the Complaint and further avers that

   Plaintiff is not entitled to the requested relief or any other relief. Mr. Hayes hereby denies

   all allegations in Plaintiff’s Complaint not expressly admitted or denied.




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    WHEREFORE, having fully answered Plaintiffs Complaint, Defendant, Mr. Hayes asserts

that Plaintiff is not entitled to the relief requested or to any relief whatsoever, and requests that

this action be dismissed in its entirety with prejudice and that Defendant be given such other

relief as this court deems proper.

    Dated: August 1, 2021
                                                        Respectfully Submitted,
                                                         /s/ Stavros Panagoulopoulos
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                                                        PELICAN LAW GROUP, LLC
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                                                          /s/ Kellie Fox____________
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                                                        Email: Fox@kdlaw.online

                                                        Counsel for Defendant
                                                        Sean Hayes

                                  CERTIFICATE OF SERVICE

       A copy of the foregoing was served in accordance with this Court’s electronic filing
procedures on this 1st day of August 2021 to:

                                        Most & Associates
                                       Attn: Caroline Gabriel
                                      201 St. Charles Avenue
                                          Suite 114, #101
                                      New Orleans, LA 70170
                                           (985) 441-9355
                                  caroline.gabriel.ma@gmail.com


                                                                             /s/ Kellie Fox
                                                                            KELLIE FOX
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